       Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 1 of 18




                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Special Agent Patrick W. Straub of the Federal Bureau of Investigation (FBI), being

duly sworn, depose and state as follows:

       1.      This affidavit is being submitted in support of a Criminal Complaint charging

SARAH BETH CLENDANIEL and BRANDON CLINT RUSSELL with conspiracy to

damage an energy facility, in violation of 18 U.S.C. § 1366(a) (Destruction of Energy Facility).

                                      PROBABLE CAUSE

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”). As such, I

am a “federal law enforcement officer” within the meaning of Federal Rule of Criminal Procedure

41(a)(2)(C), that is, a government agent engaged in enforcing the criminal laws and duly

authorized by the Attorney General to request a search warrant.

       3.      I have been a Special Agent with the FBI since January 2005. I am assigned to the

Joint Terrorism Task Force (“JTTF”) in the FBI Baltimore Division. The majority of my career

has been devoted to investigating, managing, and supporting both international and domestic

terrorism investigations, which often involve violations of Title 18 of the United States Code. I

have assisted in the preparation of numerous search warrant applications, conducted, or

participated in physical and electronic surveillance, assisted in the execution of search warrants,

debriefed informants and reviewed other pertinent records. Through my training, education, and

experience, I have become familiar with the efforts of persons involved in criminal activity to

avoid detection by law enforcement.




                                                1
       Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 2 of 18



               BACKGROUND INFORMATION CONCERNING RUSSELL

       4.      In May of 2017, RUSSELL resided in Tampa, Florida with three roommates

when one of them, Devon Arthurs, murdered the other two roommates. RUSSELL was not

home at the time and was not harmed. During the ensuing response and investigation, police

discovered Neo-Nazi paraphernalia, a picture of Oklahoma City bomber Timothy McVeigh, the

high explosive hexamethylene triperoxide diamine (“HMTD”) and, among other items,

numerous explosive precursors that belonged to RUSSELL. During an interview, RUSSELL

admitted to subscribing to “National Socialist,” or Nazi, beliefs, that he had started his own local

National Socialist Group called the “Atomwaffen,” that his roommates were members of

Atomwaffen, and that he had manufactured the HMTD.

       5.      The Atomwaffen Division (“AWD”) is known to law enforcement to be a US-

based racially or ethnically motivated violent extremist (“RMVE”) group with cells in multiple

states. The group’s targets have included racial minorities, the Jewish community, the LGBTQ

community, the United States Government, journalists, and critical infrastructure. AWD

reportedly has international ties. Since the arrest of RUSSELL and other AWD members, the

AWD has renamed itself the National Socialist Order (“NSO”).

       6.      Devon Arthurs was arrested and charged with murdering his two roommates.

Arthurs was interviewed by law enforcement agents, and he stated that he had recently converted

from Neo-Nazi beliefs to Islam. Arthurs stated that he murdered his roommates because they

bullied him over being a Muslim. Arthurs said that RUSSELL was the leader of the Neo-Nazi

group to which he and his roommates had belonged. Arthurs stated that, before he killed his

roommates, they had been planning to attack U.S. infrastructure, to include power lines along




                                                 2
       Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 3 of 18



“Alligator Alley” (a nickname for the part of Interstate 75 that crosses South Florida) as well as a

Florida nuclear power plant.

       7.      RUSSELL was charged with, and ultimately pleaded guilty to, possession of an

unregistered destructive device, in violation of 26 U.S.C. §§ 5841 & 5861(d), and improper

storage of explosive materials, in violation of 18 U.S.C. § 842(j). See MDFL Case No. 17-cr-

00283-SCB-JSS. On January 9, 2018, RUSSELL was sentenced to 60 months in prison, to be

followed by 3 years of supervised release. RUSSELL has served his sentence and is currently on

supervised release.

     PLOT TO ATTACK ELECTRICAL SUBSTATIONS IN MARYLAND

       8.      According to reporting from an FBI Confidential Human Source (“CHS-1”), since

at least June 2022, the user “Homunculus” on encrypted communication application #1 (“ECA

#1”) has encouraged CHS-1 to carry out attacks against critical infrastructure in furtherance of his

RMVE ideology. Homunculus has specifically encouraged CHS-1 to attack electrical substations

and has provided guidance on how to cause maximum damage. For example, Homunculus made

statements in direct messages to CHS-1 throughout much of 2022 regarding conducting critical

infrastructure attacks, including statements about sniper attacks against substations, and how

conducting a small number of attacks on electrical substations could cause a “cascading failure.”

On September 9, 2022, Homunculus encouraged CHS-1 to read a white supremacist publication

that provided instructions on how to attack critical infrastructure, and encouraged CHS-1 to use

Mylar balloons to short out a power transformer. On October 14, 2022, during a conversation about

the use of Mylar balloons, Homunculus told CHS-1 that “putting holes in transformers though is

the greatest thing somebody can do.”




                                                 3
       Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 4 of 18



       9.       On October 25, 2022, after CHS-1 had provided photographs of an electrical

substation, Homunculus stated that transformers are “custom made and could take almost a year

to replace if there isnt [sic] any stocked replacement which they liekly [sic] dont have.”

Homunculus also sent a link to the Wikipedia page for “Cascading failure” and asked CHS-1 how

cold it gets in CHS-1’s area. Homunculus stated that CHS-1 should carry out an attack “when

there is greatest strain on the grid,” like “when everyone is using electricity to either heat or cool

their homes.”

       10.      On November 5, 2022, Homunculus asked CHS-1 if it was snowing in CHS-1’s

area yet and added: “i think you should wait until like a week after it starts snowing for that other

thing we talked about.” CHS-1 reported that the “other thing” was a reference to an attack on an

electrical substation. Homunculus also stated that the “goal is for when most people are using max

electricity” and that “follow on [attacks] could lead to cascading failure costing billions of dollars.”

CHS-1 replied with an emoji of a shocked rubber duck.

       11.      On December 3, 2022, Homunculus told CHS-1, “someone else i know in

maryland…is gonna be doing same thing as you” and that this would “GREATLY amplify its

effects.” During the same conversation, Homunculus confirmed he was referring to the “thing

[CHS-1] sent pictures about,” a reference to the photographs of an electrical substation provided

by CHS-1 in late October.

       12.      On January 12, 2023, CHS-1 discussed the planned substation attack and told

Homunculus that CHS-1 wanted to “maximize impact” and “[w]ould love to coordinate to get

multiple [substations] at the same time.” CHS-1 also alluded to the concept of cascading failure

that Homunculus had explained to CHS-1 during previous conversations. Homunculus asked

CHS-1 to collaborate with a Maryland-based woman to carry out the attacks. Homunculus



                                                   4
       Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 5 of 18



confirmed that the woman was 100 percent “serious and can be trusted.” Homunculus described

the woman as a “felon” who “had their weapon stolen” and was struggling to obtain a new weapon.

Homunculus asked CHS-1 to assist.

       13.     According to reporting from CHS-1, later on January 12, 2023, ECA #1 user

“Nythra88” (“Nythra”) introduced herself to CHS-1, confirmed she was the individual

Homunculus was referring to in the previous conversation, and stated that she lived near Baltimore.

As described further below, FBI investigators have identified Nythra as Sarah Beth

CLENDANIEL. During the conversation, which continued through January 14, 2023, Nythra

informed CHS-1 that she had a terminal illness related to her kidneys and was unlikely to live more

than a few months, confirmed she is a felon, and stated she had previously, but unsuccessfully,

attempted to obtain a rifle. Nythra requested that CHS-1 purchase a rifle for her and that she wanted

to “accomplish something worthwhile” before her death, and wanted the rifle “within the next

couple of weeks” to “accomplish as much as possible before June, at the latest.” Nythra provided

CHS-1 with the encrypted communication application #2 (“ECA #2”) account (@kali1889) and

suggested future communication occur there, via voice, or in person.

       14.     On or about January 18, 2023, CHS-1 engaged in a recorded voice discussion using

ECA #2 with @kali1889 (“Kali”). During that conversation, Kali told CHS-1 that she had already

identified a few potential locations to target in her attack, including one just across the Delaware

state line (with Maryland), in a location that is “literally like a life artery” and would “definitely

cut out a lot of shit.” Kali confided that she had just obtained her driver’s license “today” and was

not that comfortable driving yet, so CHS-1 stated that CHS-1 would have to be the “driver” and

Kali would have to be the “shooter” in the attack. Kali confirmed that she was “determined to do

this” and stated she would have done something earlier on her own if she had not lost her rifle “a



                                                  5
       Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 6 of 18



few months ago.” Kali told CHS-1 that she had an “eotech with a 4 times magnifier,” which CHS-

1 assessed to be a rifle optic. Kali told CHS-1 that she had previously tried to obtain a rifle, a

Smith & Wesson M&P 10 Sport, but that had fallen through. Kali told CHS-1 that, if CHS-1

provided her a rifle, CHS-1 should report the rifle as stolen and she would then file off the serial

number. Kali emphasized that her time frame for the attack was “no longer than a month.”

       15.     The above call on ECA #2 experienced technical difficulties, so the recorded voice

conversation continued shortly thereafter on ECA #1. During the ECA #1 voice call, CHS-1 and

Nythra continued to discuss the specifics of the desired rifle and agreed that Nythra would send

CHS-1 a “wish list.” Nythra acknowledged that whatever type of firearms she possessed would be

“illegal.” Nythra also stated that she would “really want a silencer for my Glock 9.” FBI

investigators believe that Nythra’s reference to a “Glock 9” was regarding a Glock 19, which is a

handgun that uses 9-millimeter ammunition. On or about January 19, 2023, Kali sent CHS-1 a

wish list of items for her desired rifle that were available for online purchase at

www.palmettostatearmory.com, including an “upper,” a “lower” and magazines.

       16.     On or about January 19, 2023, CHS-1 engaged in a recorded voice discussion with

ECA #1 user Homunculus during which they spoke about CHS-1’s conversation the prior day with

Nythra. Specifically, they discussed Nythra’s ability to participate in the attack due to her health

problems and possibilities regarding acquiring or manufacturing a rifle for her. Homunculus

advised CHS-1 that he did not think CHS-1 and Nythra needed to be together at the same location

during the attack. When CHS-1 asked whether they would need to attack substations near one

other in order to achieve “cascading failure,” Homunculus said it “depends.” Homunculus said he

would “look at the map” and get back to CHS-1 about target facilities in a couple of days.




                                                 6
       Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 7 of 18



       17.     On January 21, 2023, CHS-1 exchanged encrypted messages, separately, with Kali

on ECA #2 and Homunculus on ECA #1 in which they discussed in more detail the rifle and

specific accessories Kali desired. The conversation with Kali extended into January 22, 2023, at

which time Kali stated that she already had a “bunch of [.308] ammunition” and several magazines

for a rifle. Kali later clarified that she had a “few hundred rounds of ammunition.” Kali also asked

CHS-1 to provide her a “decent inner pants holster” for her “9mm” to replace her “other holster”

which is a “drop leg holster” and therefore difficult to conceal.

       18.     On or about January 24, 2023, CHS-1 engaged in a recorded voice discussion on

ECA #1 with Nythra that lasted almost two hours. During the call, they discussed, among other

things, the following:

                   a. Nythra previously had a semi-automatic rifle; however, in approximately

                         October 2022, it was taken by an unnamed individual during an argument

                         when Nythra, her son, and her nephew, were caught trespassing on the

                         individual’s property.

                   b. Nythra has threaded and non-threaded barrels for her Glock, which is

                         functional after she purchased a new “slide” for it. Nythra physically has

                         the Glock with her; it is not kept at her mother’s residence. Nythra further

                         explained, “I keep it on me now, like just in case.” Nythra said she would

                         send a picture of it to CHS-1 in the next day or two.

                   c. Nythra discussed the ammunition she has, including .308 “full metal jacket”

                         rounds, hollow point nine-millimeter rounds, and approximately 150-200

                         rounds of “Browning and Winchester.”




                                                   7
Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 8 of 18



         d. Nythra has a “Tri-Star” semi-automatic shotgun with a 10-round magazine

            that she could use instead of the desired rifle in the “worst case scenario.”

         e. Nythra commented that her brother has or had some “incendiary rounds”

            with a green tip. Although expensive, Nythra suggested: “getting that is, uh,

            I think especially for what we’re talking about doing, just to make sure it’s

            a solid thing and not just like the oil leaking out but like it’s fully damaged.”

         f. Nythra stated that she and CHS-1 needed to use “brass catchers,” and she

            had thought about going to the firearms range to collect shells of different

            calibers, including .556, that they could spread “there” to send “them” on a

            wild goose chase. FBI investigators believe that Nythra was suggesting they

            attach devices called “brass catchers” to their rifles to collect spent shell

            casings during their planned attack; they would instead leave shell casings

            of different calibers at their attack locations, so that investigators who

            responded to the crime scenes could not tie the casings to the actual rifles

            used by Nythra and CHS-1.

         g. Nythra was hesitant to discuss targets of the attack with “Raccoon” (another

            alias for Homunculus) because “he has a lot to lose.” She added: “He’s not

            like your average regular one of us that’s not known and that’s like a

            faceless unknown person . . . I try not to involve him wherever possible.”

            Nythra and CHS-1 discussed physically scoping out some potential attack

            sites during the first week of February.

         h. Nythra and CHS-1 further discussed Nythra’s desired rifle for the attack.

19.   On or about January 26, 2023, CHS-1 and Homunculus exchanged direct



                                       8
       Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 9 of 18



messages on ECA #1 during which CHS-1 advised he/she had tentatively decided to buy a “pre-

made” rifle for Nythra/Kali instead of 3D printing one, and Homunculus replied: “okay sounds

good . . . everything else is fine too ;)’” When CHS-1 asked if Homunculus was referring to

“location”, Homunculus simply replied “yes don’t worry.” CHS-1 stated: “Perfect. That’s the

part that I haven’t really done anything on,” to which Homunculus again replied: “yea don’t

worry.” Based on the context and previous messages, CHS-1 knows that Homunculus

understood that “location” meant the specific substation that would be targeted.

       20.     On or about January 29, 2023, CHS-1 received a message on ECA #2 from Kali

in which Kali stated it “would really be ideal, for us both to have 30 round mags. Especially for

what we’re doing.” She asked CHS-1 to “please get us each like, 4 of them. For what I’m hoping

to do, we will need them. If we can pull off what I’m hoping... this would be legendary. This is

MAJOR tier, and definitely doable.”

       21.     On or about January 29, 2023, Kali sent CHS-1 via ECA #2 a link to the publicly

available webpage “Open Infrastructure Map” (https://openinframap.org) and instructed CHS-1

to “look at Baltimore and see if you can figure out what I want to do.” She also stated she wanted

“to try to do 5 in one day.” CHS reported that he/she understands that to mean Nythra seeks to

attack five electrical substations on the same day.

       22.     On or about January 29, 2023, Nythra told CHS-1 during a recorded voice

conversation on ECA #1 that the five substations she planned to target included: “Norrisville,

Reisterstown, and Perry Hall.” Nythra described how there was a “ring” around Baltimore and

if they hit a number of them all in the same day, they “would completely destroy this whole

city.” Nythra added that they needed to “destroy those cores, not just leak the oil…” and that a

“good four or five shots through the center of them . . . should make that happen.” She added:



                                                 9
      Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 10 of 18



“It would probably permanently completely lay this city to waste if we could do that

successfully.” CHS-1 asked if it would accomplish a “cascading failure” and Nythra replied:

“Yes . . . probably” and that the attack targets are all “major ones.” Nythra added that the most

difficult target that they would have to do together has “fire walls on three sides.”

       23.     Nythra also sent CHS-1 five links to the “Open Infrastructure Map,” which is the

same website previously disseminated by Homunculus when discussing infrastructure attacks

(discussed above), showing the locations of five specific electrical substations in Maryland.

Three of the five substations appear to be located near the towns of Norrisville, Reisterstown,

and Perry Hall. The remaining two substations are in the vicinity of Baltimore City, MD. CHS-

1 reported that he/she understands these five links to show the targets of Nythra’s planned attack.

The FBI reviewed the links provided by Nythra, located the substations/areas on Google Maps,

and physically visited and photographed each site. Each location is a BGE substation with

significant infrastructure. Based on my training and experience, and via open source research, I

know that BGE is an energy company that utilizes substations, like the five targeted sites, to

produce, convert, transform, regulate and distribute energy.

       24.     On or about January 31, 2023, CHS-1 and Homunculus communicated via

encrypted chat on ECA #1. CHS-1 told Homunculus that he/she had “read about a few attempt

[sic] recently that didn’t have much effect, so I want to make sure it’s done right.” Homunculus

replied “Yea, it has been studied . . . So don’t fret.” CHS-1 asked about “These specific 5?” to

which Homunculus replied: “Look at the map dude.” CHS-1 responded: “So that’s the part I

don’t get. What’s with the one all the way up by Pennsylvania? Does that have something to do

with the cascading?” Homunculus replied: “Watch this video” and provided a YouTube link to

a video captioned “Grid vs. Gunfire” that discussed “What Really Happened with the Substation



                                                 10
       Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 11 of 18



Attack in North Carolina.” After watching the video, CHS-1 commented that he/she is looking

at the map and “I think I get it . . . But I only see four lines. Not fully getting the fifth. Is the one

up north to stop rerouting? You know the one I’m talking about?” Homunculus replied: “Yrs

[sic]… It’s a hard one though . . . Look at it from google maps.” After indicating he/she had

pulled the location up on the map, CHS-1 replied “It looks like it’s in a pretty rural area . . . Good

road access . . . Wooded areas . . . I would like it to be closer to a major highway, but that has its

ups and downs. Homunculus replied: “Yea . . . Hard part is they have 3 sided firewalls . . . Look

at them.” CHS-1 replied: “Oh shit. Yea this is that one. Our friend mentioned that one did but

she didn’t say which one.”

        25.     Based on my training and experience, as well my knowledge of the facts in this

investigation, I understand the above chat between CHS-1 and Homunculus to be a discussion

of the five substations that Nythra had previously identified as targets for her attack with CHS-

1. One of the five substations identified by Nythra is in a rural area of Maryland near the

Pennsylvania border. In addition, Nythra described a substation as being surrounded by “fire

walls” on three sides, which is the same language Homunculus used to describe the facility near

Pennsylvania on January 31, 2023. As a result, I submit that there is probable cause to believe

that Nythra and Homunculus discussed potential target locations and jointly selected the five

attack targets that Nythra shared with CHS-1.

        26.     The FBI received records from Google on January 30, 2023, and January 31,

2023, pursuant to a search warrant targeting accounts used by CLENDANIEL. 1 A preliminary

review of a portion of these records revealed additional evidence of CLENDANIEL’s criminal

activities and her identity as “Kali1889” and “Nythra88. For instance, the records included


1 The search warrant was issued by United States Magistrate Judge for the District of Maryland
A. David Copperthite on January 27, 2023. See No. ADC- 23-349.
                                                    11
      Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 12 of 18



several photographs of ammunition, an “eotech” firearm sighting accessory, and a woman

physically resembling CLENDANIEL in possession of or with easy access to firearms or

firearm accessories, including one shown below with what appears to be a minor holding a

firearm. 2 One photograph depicted a woman believed to be CLENDANIEL wearing tactical

gear containing a swastika, holding a rifle and with a pistol in a drop holster on her left leg:




2
 I have compared the photographs to CLENDANIEL’s Maryland Department of Motor
Vehicles photograph and believe them to be photographs of the same person.
                                                  12
      Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 13 of 18




       27.     The Google records also contained screenshots of a document that states that it is

not a manifesto; however, the FBI assesses that it contains many aspects that would be included

in a manifesto. The document starts: “If this is being posted online, I can only hope that some of

                                                13
      Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 14 of 18



my plans were at least partially successful.” The document references Kaczynski, Brevic, Hitler 3

and others while stating that “I would sacrifice **everything** for my people to just have a

chance for our cause to succeed.” The document later states: “Unfortunately, I have very little

experience with firearms. But once I get my license, I hope to get at least a couple hours of

practice in . . . What a shame I don’t have a rifle yet. This storm would be the perfect time to hit

some substations and knock out power.” 4

               CLENDANIEL is “Nythra88” on ECA #1 and “@kali1889” on ECA #2

         28.     The FBI has been aware of CLENDANIEL’s relationship with the user of

Homunculus, identified as RUSSELL (explained below at paragraphs 33 - 36) since at least

2018 when they were corresponding with each other while they were both incarcerated in

separate facilities. In or about November 2022, if not earlier, the FBI had tentatively identified

the user of the online monikers “Kali” and “Nythra88” as CLENDANIEL. This identification

is further corroborated by the above-described voice conversations, as more fully explained

below.

         29.     Specifically, Nythra/Kali disclosed certain details about her life to CHS-1 during

the voice conversations on January 18, 2023, that correspond with CLENDANIEL. For instance,

she stated that her mother lives in North East, Maryland but that she lives near Baltimore with a

roommate. Second, Nythra/Kali stated that she had just obtained her driver’s license “today”

Finally, Nythra/Kali disclosed that her prior felony conviction was for armed robbery of a

convenience store with a “machete,” which she had committed while under the influence of


3
 The FBI understands these to be references to Ted Kaczynski, aka the Unabomber, who was
arrested in 1996 for a series of mail bombings in the United States; to Anders Breivik, who was
convicted in 2012 in the Netherlands for committing terrorist attacks; and to Adolph Hitler.
4
  Based on the fact that CLENDANIEL only recently obtained a driver’s license, I believe that
the reference to “license” is a reference to her driver’s license.
                                                  14
         Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 15 of 18



drugs.

         30.   A review of Maryland Motor Vehicle Administration (MD MVA) records

revealed that CLENDANIEL’s Maryland driver’s license was issued on January 18, 2023, and

her address was listed as an address known to the FBI in North East, Maryland, where her mother

currently resides (hereinafter, “Subject Address 1”). A review of CLENDANIEL’s criminal

history reflects a 2006 arrest for numerous offenses, including armed robbery, that resulted in a

felony robbery conviction. CLENDANIEL was sentenced for this incident in approximately

December 2006 to five years of imprisonment with two years suspended. The FBI reviewed a

police report from this May 2006 incident, and the report indicated that CLENDANIEL had

been arrested for her involvement in a robbery at a convenience store, during which she wielded

a “large butcher knife.” At the time of her arrest, officers observed “track marks, cuts and

infections on both” of her arms.

         31.   Review of open source databases revealed that a woman believed to be

CLENDANIEL’s mother, 72 years old, currently resides at Subject Address 1 in North East,

Maryland, in Cecil County. Police reports previously reviewed by the FBI revealed that, on

September 13, 2022, the resident at a different address known to the FBI in Catonsville,

Maryland (hereinafter, “Subject Address 2”), had reported that CLENDANIEL, who was his

“girlfriend,” had temporarily gone missing and he provided a telephone number for

CLENDANIEL that ended in -0728. Catonsville, Maryland is in Baltimore County and is

physically located close to the city of Baltimore. The FBI reviewed information on or about

January 20, 2023, from the state of Maryland regarding CLENDANIEL’s probation status. This

information reflected that CLENDANIEL’s most recent contact with her probation officer was

January 13, 2023, during which CLENDANIEL advised she was still dealing with kidney



                                                15
      Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 16 of 18



disease. Her listed phone numbers were a phone number ending in -6453 and the same phone

number ending in -0728 referenced above. Her address was listed as Subject Address 2, where

she lives with her “friend.”

       32.     Based on all of the above, I submit that there is probable cause to believe

CLENDANIEL is “Kali1889” and “Nythra88.”

       RUSSELL is “Homunculus” on ECA #1 and Uses the Online Moniker “Raccoon”

       33.     An FBI employee who listened to RUSSELL’s recorded phone calls while he

was incarcerated has also listened to the recorded voice conversations between CHS-1 and

Homunculus. That FBI employee believes that Homunculus and RUSSELL are the same person

based on a voice comparison.

       34.     In addition, among the records obtained from Google pursuant to the search

warrant are photographs of a cell phone screen displaying text messages between "Raccoon" and

"Irkalla." In the messages, Raccoon refers to Irkalla on multiple occasions as "Kali," and, on one

occasion, Irkalla refers to Raccoon as "Brandon." In that same conversation, the two discussed

having kids together, and mentioned "warfare" and "illegal things." Raccoon stated that "going

to prison was worth it because I might not have met you otherwise."

       35.     In a message on ECA #1 dated July 2, 2022, Homunculus stated that “yesterday,”

i.e., July 1, was Brandon Russell’s birthday. Criminal history records for RUSSELL indicate

that RUSSELL’s birthday is July 1. Based on the FBI’s review of these messages, it appears

that Homunculus was stating in the ECA #1 messages that he was, in fact, RUSSELL.

       36.     As previously discussed at paragraph 28, the FBI has been aware of

CLENDANIEL’s association with RUSSELL since 2018 and knows their relationship has

persisted beyond their time in prison. For example, according to records obtained from Amazon,



                                                16
      Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 17 of 18



CLENDANIEL’s Amazon account was used to purchase items that were shipped, or scheduled

to be shipped, to RUSSELL at his known residential address with RUSSELL in Orlando,

Florida. 5 One such purchase was in May 2022, and another was in August 2022. The purchase

for and shipment to RUSSELL in May 2022 was for a 34-piece “Professional Pocket Picking

Hand Tool” set that is for “Hasp Storage, Fence, Gate, Gym, Locker, Sports Locker.” It is also

worth noting that CLENDANIEL purchased the same exact item for herself, on the same day,

but the order quantity was listed as “0” and the records suggest that the product was never

shipped.

                                          Conclusion

       37.    Based on the above information, I believe probable cause exists to support the

issuance of a Criminal Complaint charging SARAH BETH CLENDANIEL and BRANDON




5 Bureau of Prisons records reflect that location as RUSSELL’s address as of the time of his
release from prison in 2021. In addition, FBI personnel conducting physical surveillance have
observed RUSSELL coming and going from that address as recently December 22, 2022.
                                               17
      Case 1:23-mj-00434-MMJM Document 1-1 Filed 02/07/23 Page 18 of 18



CLINT RUSSELL with conspiracy to damage an energy facility, in violation of 18 U.S.C. §

1366(a) (Destruction of Energy Facility).



                                            Respectfully submitted,


                                            _______________________________
                                            Patrick W. Straub, Special Agent
                                            Federal Bureau of Investigation


Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. 4.1 and 41(d)(3) this _______ day of February, 2023.


______________________________________
THE HONORABLE MATTHEW J. MADDOX
UNITED STATES MAGISTRATE JUDGE




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